
667 S.E.2d 276 (2008)
STATE of North Carolina
v.
Andrew Michael TOLER.
No. 157P08.
Supreme Court of North Carolina.
August 26, 2008.
C. Scott Holmes, Durham, for Toler.
Derrick C. Mertz, Assistant Attorney General, Susan Doyle, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed on the 9th day of April 2008 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th day of August 2008."
